             Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 1 of 29




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                  )
    In re:                                                        )      Chapter 11
                                                                  )
    GWG Holdings, Inc., et al.,1                                  )      Case No. 22-90032 (MI)
                                                                  )
    Debtors.                                                      )      (Jointly Administered)
                                                                  )

        DEBTORS’ MOTION FOR (I) ENTRY OF AN ORDER MODIFYING THE
        AUTOMATIC STAY AND AUTHORIZING USE OF ESTATE PROPERTY,
      TO THE EXTENT APPLICABLE, TO ALLOW PAYMENT, REIMBURSEMENT,
              AND/OR ADVANCEMENT OF DEFENSE COSTS UNDER
           INSURANCE POLICIES AND (II) GRANTING RELATED RELIEF


             If you object to the relief requested, you must respond in writing. Unless
             otherwise directed by the Court, you must file your response electronically at
             https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this
             motion was filed. If you do not have electronic filing privileges, you must file
             a written objection that is actually received by the clerk within twenty-one
             days from the date this motion was filed. Otherwise, the Court may treat the
             pleading as unopposed and grant the relief requested.



             GWG Holdings, Inc. (“GWGH”) and certain of its subsidiaries, as debtors and debtors in

possession in the above-captioned cases (collectively, the “Debtors” and, together with their non-

Debtor affiliates, collectively, “GWG” or the “Company”) 2 respectfully state as follows in support

of this motion (this “Motion”):




1
      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: GWG Holdings, Inc. (2607); GWG Life, LLC (6955); and GWG Life USA, LLC (5538). The
      location of Debtor GWG Holdings, Inc.’s principal place of business and the Debtors’ service address is 325 N.
      St. Paul Street, Suite 2650 Dallas, TX 75201. Further information regarding the Debtors and these chapter 11
      cases is available at the website of the Debtors’ claims and noticing agent: https://donlinrecano.com/gwg.
2
      For the avoidance of doubt, the definitions of “GWG” and “Company” do not include non-affiliated entities The
      Beneficient Company Group, L.P., FOXO Technologies, Inc., or their respective direct and indirect subsidiaries.


748983070
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 2 of 29




                                         I. Preliminary Statement

        1.       The Debtors and the Debtors’ current and former directors and officers are insureds

under prepetition directors and officers insurance and related corporate liability policies

(collectively, the “D&O Policies” or the “Policies”).3                  Non-debtors Beneficient Company

Holdings, L.P. and The Beneficient Company Group, L.P. (collectively, “Beneficient”) are

“Additional Parent Companies” as defined in the D&O Policies and also are insureds under the

D&O Policies. Beneficient is a former affiliate of the Debtors, and the Debtors’ passive investment

in Beneficient is its largest asset.

        2.       The Debtors and/or certain of the other insureds under the Policies (including

certain of the Debtors’ and Beneficient’s current and former officers and directors) have insurance

claims relating to the ongoing, non-stayed SEC Investigation, 4 a currently-stayed class action

lawsuit alleging various securities laws violations (the “Securities Class Action”), 5 and a non-

stayed lawsuit filed by Paul Capital Advisors, LLC and various other plaintiffs (the “PCA Suit,” 6



3
    The policies acquired solely for the benefit of the Debtors, their subsidiaries, and their directors and officers
    following the Petition Date are not at issue in or affected by this Motion.
4
    In October 2020, the Enforcement Division of the Securities Exchange Commission (the “SEC”) served a
    subpoena on GWGH in connection with its investigation (the “SEC Investigation”) regarding certain accounting
    and disclosure matters and GWGH’s issuance of bonds. This investigation is ongoing and has involved the full
    cooperation of the Company, and, to GWGH’s knowledge, has not demonstrated the violation of any securities
    laws or any other wrongdoing. However, as noted, it is continuing, and, as it is an enforcement investigation, is
    excepted from the reach of the automatic stay. 11 U.S.C. § 362(b)(4). See SEC v. First Fin. Grp. of Texas, 645
    F.2d 429, 437-38 (5th Cir. 1981) (“[T]he SEC’s continuing civil enforcement action and the enforcement of the
    preliminary injunction against [the debtor] are not stayed under [§] 362(a).”).
5
    The Securities Class Action is styled Bayati, et al v. GWG Holdings, Inc, et al., and is pending in the United
    States District Court for the Northern District of Texas. GWGH vehemently denies all of the allegations in the
    Securities Class Action and intends to vigorously defend itself in such lawsuit.
6
    The PCA Suit is styled Paul Capital Advisors, LLC, et al. v. Murray T. Holland, as Trust Advisor of the LT-1 to
    LT-9 Exchange Trusts, James E. Turvey, as Trust Advisor to the LT-1 to LT-9 Exchange Trusts, MHT Financial
    LLC, the Beneficient Company Group, L.P., Highland Consolidated Business Holdings GP, L.L.C., Beneficient
    Management, L.L.C., Beneficient Company Holdings, L.P., Highland Consolidated, L.P., Beneficient Holdings,
    Inc., Highland Real Assets, L.L.C., and Beneficient Management Counselors, L.L.C., C.A. No. 2022-0167-56,
    Court of Chancery, Delaware. While the Debtors are not a party to the PCA Suit, certain of the defendants have


                                                         2
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 3 of 29




and the insurance claims relating to the SEC Investigation, the Securities Class Action, and the

PCA Lawsuit, the “Insurance Claims”).7

        3.       Notwithstanding the rights of the Debtors as insureds and Beneficient as

“Additional Parent Company” (including Beneficient’s status as a non-debtor), as well as the rights

of the other “insureds” under the D&O Policies, the Insurance Carriers (as defined below), in light

of the pendency of the Chapter 11 cases and the imposition of the automatic stay have requested

that the Debtors seek the entry of an Order from this Court clarifying the applicability of the

automatic stay and modifying the automatic stay, to the extent that it is applicable, as a

precondition to honoring any payment, advancement, or reimbursement obligations under the

Policies with respect to the Securities Class Action and SEC Investigation. Moreover, because

Beneficient and its current directors and officers are insureds under the Policies, the Insurance

Carriers have also requested as a further precondition to honoring obligations with respect to the

Securities Class Action and SEC Investigation that the Debtors seek the Court’s approval of the

Order with respect to the PCA Action as well. The Insurance Carriers wish to alleviate any concern

that the automatic stay would otherwise prevent the timely performance of their payment,

advancement, or reimbursement obligations under the D&O Policies relating to the SEC

Investigation (as defined below) and certain other litigation and other claims that are covered by

the Policies. The requested relief furthermore will permit the Debtors to continue to receive critical

legal representation, and to fulfil their indemnification obligation in favor of their former and




    asserted Insurance Claims relating to the PCA Suit. Upon information and belief, such defendants deny the
    allegations in the PCA Suit and have filed a motion to dismiss the PCA Suit, which motion is currently pending.
7
    The Policies contain “Priority of Payments” clauses giving priority to the payment of any Loss arising from a
    covered claim against individual insureds over the payment of any Loss arising from a covered claim against
    the Debtors or Beneficient.


                                                         3
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 4 of 29




current officers and directors, with no additional cash payment by the Debtors, which will inure to

the benefit of their bankruptcy estates and their creditors.

        4.       The Insurance Carriers have confirmed coverage in favor of the Debtors and, upon

information and belief, as of the date hereof, have also confirmed coverage in favor of certain of

the non-Debtor insureds under the D&O Policies with respect to the Insurance Claims.

        5.       Any retention or deductible obligation under the D&O Policies relating to the SEC

Investigation or the PCA Suit has been fully satisfied.8 Accordingly, GWGH is entitled under the

terms of such policies to have the carriers thereunder cover the costs of GWGH’s counsel Willkie

Farr & Gallagher LLP (“Willkie Farr”) and other related professionals relating thereto. It is the

Debtors’ understanding that Beneficient and related insureds may also be entitled to have the

carriers thereunder cover costs with respect to the PCA Suit. Moreover, former and current officers

and directors of GWG have been or will be represented by counsel in connection with the SEC

Investigation and are entitled to the reimbursement by the carriers of their defense costs under

“Side A” coverage of the D&O Policies. 9

        6.       The Debtors believe that the automatic stay should not prevent such carriers from

complying with such obligations, whether in favor of GWGH or such individuals. However, to

the extent that such performance would violate the automatic stay, sufficient “cause” within the

meaning of Section 363(d)(1) of the Bankruptcy Code exists to modify the automatic stay to permit

such carriers to honor their coverage obligations with respect to the SEC Investigation. The



8
    Upon information and belief, in connection with such claim, Beneficient has provided the Insurance Carriers with
    supporting documentation that it advanced at least $565,000 of its own defense costs in connection with the PCA
    Suit. The Insurance Carriers have confirmed that such advance satisfied any remaining retention obligation of
    either the Debtors or Beneficient under the D&O Policies.
9
    MHT Financial LLC, an entity in which Murray T. Holland has a 30% ownership interest and which is a Co-
    Defendant Insured via an endorsement to the Primary D&O Policy, and the individual defendants in the PCA Suit
    also may be entitled to coverage under the D&O Policies with respect to the PCA Suit.


                                                         4
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 5 of 29




Debtors’ continued cooperation with the SEC Investigation and the prompt resolution thereof are

in the best interests of the Debtors and their estates. Indeed, if the postpetition fees and expenses

for services provided by Willkie Farr and other professionals retained by the Debtors in connection

with the SEC Investigation are not paid or reimbursed under the Debtors’ insurance policies, such

claims will be entitled to administrative expense priority and will significantly deplete the estates’

limited resources. The very purpose of this type of insurance is to protect the Debtors and cover

their exposure in exactly these types of circumstances at no additional expense to the Debtors or

their estates.

        7.       The Insurance Carriers are also seeking entry of the Order with respect to the PCA

Action before honoring obligations in connection with the SEC Investigation and Securities Class

Action. Beneficient is both an “Additional Parent Company” and a separate insured under the

D&O Policies and proceeds payable under the D&O Policies on its covered claims may not

constitute property of the Debtors’ bankruptcy estate. As noted, Beneficient is neither a Debtor

nor a subsidiary or an affiliate of the Debtors. The Debtors’ interest in Beneficient is a passive

investment, and the Debtors do not control the actions of Beneficient. Irrespective of whether such

Policy proceeds constitute property of the Debtors’ estates, sufficient “cause” nonetheless exists

under Section 362(d)(1) of the Bankruptcy Code to modify the automatic stay for such purpose

because (1) the Insurance Carriers will not honor any payment, advancement, or reimbursement

obligation under the Policies with respect to the Securities Class Action and SEC Investigation

until receiving clarity with respect to the PCA Action as well, and (2) Debtors’ passive investment

in Beneficient is the Debtors’ most valuable asset and protecting the value of that interest by

permitting the funding of Beneficient’s defense costs inures to Debtors’ direct benefit.




                                                  5
       Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 6 of 29




       8.      Upon the commencement of these Chapter 11 cases, the Securities Class Action

was, of course, automatically stayed as to GWGH and, since then, has been stayed as to all

remaining individual defendants by stipulation. However, to the extent that GWGH incurs any

defense costs going forward, such costs again should be covered by the carriers under the D&O

Policies. And, as such amounts would be reimbursed directly to GWGH, the Debtors submit that

such reimbursement would not violate any of the subsections of Section 362(a) of the Bankruptcy

Code and thus, the automatic stay. However, to the extent that the automatic stay could apply to

prevent such reimbursement, sufficient “cause” exists under Section 362(d)(1), as the Debtors will

be able to utilize the insurance obtained pre-petition for this very purpose at no post-petition

additional expense to the Debtors or their estates.

       9.      Moreover, any reimbursement by the carriers of the defense costs of former and

current officers and directors in connection with the Insurance Claims (solely to the extent that

they qualify as “Insureds” under the D&O Policies), under the “Side A” coverage of the D&O

Policies would not violate the automatic stay. Courts have held that while directors and officers

policies that are owned by a debtor and that provide “Side A” coverage are property of a debtor’s

bankruptcy estate, the proceeds paid in coverage of individual officers and directors under those

“Side A” provisions, particularly when there is a priority of payments provision favoring directors’

and officers’ claims over those of the corporate entity, do not constitute property of any such

debtor’s bankruptcy estate, and thus, payment, advancement, or reimbursement of any such

proceeds for the benefit of any such covered, non-debtor individuals does not and cannot violate

the automatic stay. Homsy v. Floyd (In re Vitek, Inc.), 51 F.3d 530, 535 (5th Cir. 1995) (To the

extent of D&O Policy provides Side A coverage, “the proceeds of that D&O Policy are not part of

the debtor’s bankruptcy estate.”) (emphasis in original).




                                                 6
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 7 of 29




        10.       Accordingly, for the reasons summarized above and set forth in greater detail

below, the relief requested in the Motion is appropriate and should be granted.

                                         II. Relief Requested

        11.       The Debtors seek entry of an order substantially in the form attached hereto

(the “Order”): (a) modifying the automatic stay and authorizing the use of property of the Debtors’

estates outside the ordinary course of business, in each case, to the extent applicable, with respect

to proceeds of the D&O Policies to allow the Insurance Carriers to pay, reimburse, and/or advance

covered amounts of the Insureds under the D&O Policies relating to the Insurance Claims,

including, without limitation, defense costs, of (i) the Company in connection with the SEC

Investigation and the Securities Class Action (ii) Beneficient in connection with the PCA Suit, and

(iii) current and former directors and officers of the Debtors or Beneficient in connection with the

pending SEC Investigation, the Securities Class Action, and/or the PCA Suit and (b) granting

related relief.

                                     III. Jurisdiction and Venue

        12.       The United States Bankruptcy Court for the Southern District of Texas (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This is a core proceeding

pursuant to 28 U.S.C. § 157(b). The Debtors confirm their consent to the entry of a final order by

the Court.

        13.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        14.       The bases for the relief requested herein are sections 105(a), 362(d), and 363(b) of

title 11 of the United States Code (the “Bankruptcy Code”), rules 4001(a) and 9014 of the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and rule 4001-1 of the Bankruptcy

Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”).




                                                   7
         Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 8 of 29




                                                IV. Background

A.       The Debtors and the Commencement of these Chapter 11 Cases

         15.      On April 20, 2022 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”). On April

20, 2022, the Court entered an order authorizing the joint administration of the Chapter 11 Cases.

See Dkt. No. 18. The Debtors continue to operate their businesses and manage their properties as

debtors and debtors in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.

On May 9, 2022, a Committee of Bondholders (the “Bondholders Committee”) was appointed in

the Chapter 11 Cases by the Office of the United States Trustee for the Southern District of Texas

(the “United States Trustee”). No trustee or examiner has been appointed in the Chapter 11 Cases.

         16.      The Company is a financial services firm with two principal types of assets:

(i) equity interests in independent, non-affiliated entities that operate in the alternative assets and

epigenetics spaces; and (ii) secondary life insurance assets, comprised of a portfolio of near-

duration, intermediate-duration, and long-duration life insurance policies (each a “Policy” and

collectively, the “Policy Portfolio”). A detailed description of the Debtors and their businesses,

and the facts and circumstances supporting the Chapter 11 Cases, are set forth in greater detail in

the Declaration of Timothy Evans, Chief Financial Officer of GWG Holdings, Inc., in Support of

Chapter 11 Petitions and First Day Motions [Dkt. No. 17] (the “First Day Declaration”).10 In

further support of this Motion, the Debtors rely upon and incorporate by reference herein the First

Day Declaration.




10
     Capitalized terms used but not otherwise defined in this Motion shall have the meanings given to them in the First
     Day Declaration.


                                                           8
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 9 of 29




B.       The D&O Policies

         17.     The insureds in a standard D&O insurance policy are the corporate policyholder

and its subsidiaries, as well as the corporation’s directors and officers, who are the primary

beneficiaries of the policy. Standard D&O insurance policies usually provide one or more of the

following three types of coverage:

         Side A “Liability” Coverage, which protects only the corporation’s directors and officers
         and only applies when the corporation is unable to indemnify them against a claim. 11

         Side B “Indemnification” Coverage, which provides insurance only for the corporation and
         only when it agrees to indemnify its directors and officers against a claim; 12 and

         Side C “Entity” Coverage, which insures only the corporation and typically only when the
         corporation is a defendant in a “securities action.”13

Some D&O insurance policies only provide Side A coverage—they cover only the non-

indemnified loss of a corporation’s directors and officers. Other types of D&O insurance policies

provide a combination of Side A, Side B, and Side C coverage.

         18.     This Motion concerns the prepetition D&O Policies set forth on Schedule 1 hereto

issued by the insurance carriers set forth thereon (collectively, the “Insurance Carriers”).

The Policies were originally issued effective as of April 26, 2020 for a one-year term, and were

extended in 2021 to be effective until April 26, 2022, shortly after the Petition Date. Each of the

Policies is a “claims made” policy, generally meaning that they provide coverage for claims that

were first asserted during the applicable policy period. As noted above, Beneficient is a separate

insured under the Primary D&O Policy and the Policies that follow form to it as an “Additional

Parent Company.”




11
     See Jason S. Brookner and Lydia R. Webb, Ain’t No Easy Answers: D&O Insurance Proceeds in Bankruptcy, 26
     No. 4 NORTON J. BANKR. L. & PRAC. NL ART. 2 (Aug. 2017).
12
     Id.
13
     Id.


                                                      9
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 10 of 29




         19.     The Debtors, with Beneficient, hold two primary comprehensive Policies, an

“Executive and Corporate Securities Liability Insurance Policy” (Policy No. ELU167134-20) (the

“Primary D&O Policy”) and a “Financial Services Liability Policy” (Policy No. ELU167135-20)

(the “Primary Company Policy” and, together with the Primary D&O Policy, the “Primary

Policies”), each issued by Indian Harbor Insurance Company. The Primary D&O Policy provides

Side A, Side B, and Side C coverage to the Debtors, Beneficient, and their respective former and

current officers and directors14 and certain other parties, for certain losses, including defense costs

arising out of covered claims. The Primary Company Policy supplements the Primary D&O Policy

by, among other things, providing direct coverage with respect to certain claims made against, and

regulatory investigations involving, the Debtors and Beneficient. The Primary Policies together

provide coverage up to a set combined policy limit. However, the remaining Policies (the “Excess

Policies”) provide excess coverage (subject to their own terms and conditions) beyond the primary

limit.15 As is usually the case with respect to policies of this nature, defense costs paid by the

Insurance Carriers count towards the coverage limits under the Policies.

         20.     Five Excess Policies (the “Limited Excess Policies”) provide excess coverage and

follow form to the Primary D&O Policy but do not follow form to the Primary Company Policy.

         21.     Some of the excess policies in this tower provide Side A coverage only, i.e., they

do not cover the obligations of the Debtors or Beneficient, but rather only provide direct coverage

to their respective individual directors and officers. The Lead Side A Policy is issued by National

Union Fire Insurance Company (Policy No. 01306983) (the “Lead Side A Policy”), and it follows

form (subject to its own terms and conditions) to the Primary D&O Policy with respect to coverage



14
     The Individual Insureds (as defined below) are “Insured Persons” under the Primary D&O Policy.
15
     Each of the Excess Policies generally follows form to the Primary D&O Policy and, in some cases, the Primary
     Company Policy, subject to certain exceptions contained therein.


                                                       10
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 11 of 29




for individuals. Because it contains certain of its own terms and conditions, it is known as a Side

A DIC (difference in conditions) Policy. The Lead Side A Policy is followed by seven additional

excess Policies (the “Excess Side A Policies” and, together with the Lead Side A Policy, the “Side

A DIC Policies”) that provide an additional excess Side A coverage that is available solely to non-

Debtor parties. Each of the Excess Policies generally follows form to the Primary D&O Policy,

and, in some cases, the Primary Company Policy, but they are all DIC policies.

         22.      Moreover, each of the D&O Policies that also provides Side B and Side C coverage

also contains a priority of payment provision that provides that losses for covered claims for which

payment is due are payable first to the Individual Insureds.

C.       The Pending SEC Investigation

         23.      On October 6, 2020, as noted in the First Day Declaration and in the Debtors’ public

securities filings, GWGH received a subpoena to produce documents from the Chicago office of

the SEC’s Division of Enforcement pursuant to a non-public, fact-finding investigation. Since the

initial subpoena, the SEC has issued subsequent subpoenas for additional documents and

information from the Company and for the testimony of current and former directors and officers

of the Company. The requested information from the SEC has primarily related to GWGH’s

investment products, including its bonds, as well as various accounting and disclosure matters.

The SEC has also requested information concerning the documents and information that GWGH

made available to broker-dealers who sold L Bonds to investors. 16




16
     On June 15, 2022, the SEC filed a complaint against Western International Securities, Inc., a broker-dealer that
     sold certain of the Bonds, along with certain individuals affiliated with it, for violations of the SEC’s Regulation
     BI, which requires brokers and investment advisers to exercise reasonable diligence, care, and skill to have a
     reasonable basis to believe the investment recommendation is in the best interests of the customer, based on the
     customer’s investment profile and the potential risks, rewards, and costs associated with the recommendation (the
     “Reg BI Lawsuit”). Neither the Debtors nor any of the Debtors’ former or current officers or directors were
     named as defendants in the Reg BI Lawsuit.


                                                           11
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 12 of 29




         24.      The Debtors have been cooperating fully with the SEC in connection with the SEC

Investigation, and, as it is an enforcement investigation excepted from the automatic stay pursuant

to Section 362(b)(4) of the Bankruptcy Code, have continued and will continue to do so during the

pendency of the Chapter 11 Cases. See First Fin. Grp. of Texas, 645 F.2d at 437-38 (“[T]he SEC’s

continuing civil enforcement action and the enforcement of the preliminary injunction against [the

debtor] are not stayed under [§] 362(a).”). See also In re Nw Corp., No. 03-12872 (CGC), 2004

WL 1345100, at *2 (Bankr. D. Del. June 16, 2004) (“[T]he Debtor acknowledges that the SEC is

free under its regulatory authority (and the police power exception to the automatic stay) to open

an investigation if it wishes to do so.”).

         25.      GWGH, through its insurance broker, timely notified the Insurance Carriers of the

pendency of the SEC Investigation and its concomitant coverage claim on April 6, 2021. As noted

above, the Debtors and Beneficient have satisfied all retention or deductible requirements relating

thereto.

         26.      The costs incurred by the Debtors in connection with the SEC Investigation have

been and will continue to be significant. Prior to the Petition Date, the Debtors retained Willkie

Farr to advise and represent them in connection with the SEC Investigation. Willkie Farr has also

represented current and former officers and affiliates of the Debtors in the SEC Investigation.

Willkie Farr has worked diligently with the Debtors towards a successful resolution of the SEC

Investigation prior to the Petition Date and, subject to the Court’s approval of its retention

application, it will continue to do so during the pendency of the Chapter 11 Cases. 17 The fees and

expenses for postpetition services provided by Willkie Farr, as well as by the other professionals


17
     The Debtors’ Application for Entry of an Order (I) Pursuant to Section 327(e) of the Bankruptcy Code
     Authorizing and Approving Employment and Retention of Willkie Farr & Gallagher LLP as Special Counsel for
     the Debtors Effective as of the Petition Date and (II) Granting Related Relief [ECF No. 268] was granted on June
     22, 2022 [ECF No 450].


                                                         12
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 13 of 29




retained by the Debtors who will continue to render post-petition services on behalf of GWGH in

connection with the SEC Investigation, as it is an enforcement investigation excepted from the

reach of the automatic stay pursuant to Section 362(b)(4) of the Bankruptcy Code, will be entitled

to administrative expense priority with respect to the approved fees and expenses relating to such

post-petition services and, accordingly, will significantly deplete the estates’ limited resources if

not paid or reimbursed under the Debtors’ insurance policies.

       27.     As of the Petition Date, Willkie Farr was owed more than $4,000,000, which the

Debtors submit, in light of the satisfaction of any retention amount, is the contractual obligation

of the Insurance Carriers under the D&O Policies. Likewise, and as noted, other service providers,

including an e-discovery vendor, have provided and continue to provide essential services to the

Debtors in connection with the SEC Investigation.

       28.     From the Debtors’ perspective, and in addition to its continuing post-petition

obligation to respond to such investigation, the prompt and favorable resolution of the SEC

Investigation will facilitate the Debtors’ ability to successfully emerge from the Chapter 11 Cases

as a going concern. Accordingly, the Debtors believe that it is necessary and appropriate to ensure

that all expenses incurred in connection with the SEC Investigation are promptly paid by the

Insurance Carriers, at no additional cost to the Debtors, so that the Debtors’ experienced

professionals, including Willkie Farr, continue providing these essential services. Importantly,

and as described above, granting the relief requested herein will not require the Debtors to go out-

of-pocket for any deductibles or self-insured retentions. The entry of the Order will merely give

the Insurance Carriers comfort that they thereafter may pay or advance the Debtors’ or other

insureds’ expenses incurred in connection with the SEC Investigation (including the expenses of

the individual former and current officers and directors involved in the SEC Investigation,




                                                 13
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 14 of 29




including those also represented by separate counsel), without fear of running afoul of the

Bankruptcy Code.

D.     The PCA Suit

       29.     As noted above, Beneficient both is an “Additional Parent Company” and is

separately insured under the D&O Policies. The PCA Suit is described above and includes

allegations against various insureds, including Murray T. Holland, who is the Debtors’ Chief

Executive Officer and a director (and MHT Financial LLC, an entity in which Mr. Holland holds

a 30% ownership interest), although the allegations against Mr. Holland in the PCA Suit relate to

a period prior to Mr. Holland becoming an employee or director of the Debtors. Upon information

and belief, the defendants in the PCA Suit vehemently deny the factual allegations, as well as the

legal claims, asserted in the PCA Suit, and there is a pending motion to dismiss such suit. Further,

upon information and belief, Beneficient has acknowledged its indemnification obligation in favor

of the individual defendants, including the advance or reimbursement of their defense costs

incurred in connection therewith.

E.     The Securities Class Action

       30.     The Securities Class Action was commenced on February 18, 2022 and purports to

assert against GWGH and certain of its past and present directors and officers alleging violations

of §§ 11, 12(a)(2), and 15 of the Securities Act of 1933. The case is titled Bayati, et al. v. GWG

Holdings, Inc., et al., bears case number 22-00410, and is currently pending before the United

States District Court for the Northern District of Texas. As discussed in the First Day Declaration,

GWGH believes that the allegations of wrongdoing in the Securities Complaint are entirely

without merit, and GWGH intends to vigorously contest the claims asserted therein. At this time,

GWGH and the other defendants have not answered or otherwise responded to the Securities




                                                 14
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 15 of 29




Complaint, and all parties to the case have agreed that the case should be stayed as to all defendants

on an interim basis, with all parties reserving rights to assert or challenge the extension of the

automatic stay to the non-debtor Defendants. 18

         31.       GWGH, through its broker, timely notified the Insurance Carriers of the

commencement of the Securities Class Action and the commencement coverage clauses under the

D&O Polices on behalf of GWGH and the Non-Debtor defendants on February 22, 2022.

         32.       As of the date hereof, the non-Debtor defendants in the Securities Class Action are

Roy W. Bailey (a former director of GWGH), David F. Chavenson (a director of GWGH), David

H. De Weese (a director of GWGH), Murray T. Holland (CEO of the Debtors and a director of

GWGH), and Timothy L. Evans (CFO of the Debtors and a director of GWGH) (collectively,

together with the former or current officers and directors currently, or in the future may be,

represented by separate counsel in connection with the SEC Investigation, the “Individual

Insureds”).19 Each of the Individual Insureds, by virtue of their status as current or former directors

and/or officers of the Debtors, are entitled to indemnification by GWGH, which indemnification

obligation with respect to the claims asserted against them in the Securities Class Action, inter

alia, would include the timely advance or reimbursement of such Individual Insured’s defense

costs incurred in connection with their defense in the Securities Class, had GWGH not been

prevented from such advance or reimbursement by virtue of the pendency of its Chapter 11 case.


18
     See Agreed Joint Statement on Automatic Stay [Doc. 41], filed in the Securities Class Action on May 5, 2022.
     Also, the proposed lead plaintiffs in the Securities Class Action filed in these Chapter 11 Cases a motion for relief
     from the automatic stay (the “Limited Lift Stay Motion”) [ECF No. 201] for a modification of the automatic stay
     in order to pursue the appointment of themselves as lead plaintiffs in the Securities Class Action, to serve and
     enforce (at their direction) two limited third-party subpoenas, and to take related actions. The Limited Lift Stay
     Motion does not seek any relief that otherwise would affect the existing stay of the Securities Class Action against
     GWGH and non-debtor Defendants.
19
     On May 2, 2022, the plaintiffs filed their Notice of Voluntary Dismissal Without Prejudice Pursuant to
     Fed.R.CIV.P. 41(a) of Clauses Brought Against Peter T. Cangany, Brad K. Heppner, Thomas O. Hicks, Dennis
     P. Lockhart, and Bruce W. Schnitzer [Doc. 40] in the Securities Class Action.


                                                           15
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 16 of 29




However, notwithstanding such existing inability of GWGH to honor such obligations, each of the

Individual Insureds, again by virtue of their status as current or former officers and directors of the

Debtors, meet the definition of “Insured Persons” under the Policies and their expenses with

respect to the Securities Class Action. Thus, subject to policy limits and other terms and

conditions, the expenses incurred by the Individual Insureds in connection with the SEC

Investigation or their defenses in the Securities Class Action, as the case may be, are payable by

the Insurance Carriers under the Policies.

       33.     GWGH intends that Mayer Brown will continue to represent GWGH as defendant

in the Securities Class Action, and its fees and expenses in connection therewith will be dealt with

in connection with the Chapter 11 Cases, although GWGH will remain entitled to reimbursement

of such fees and expenses to the extent provided in the D&O Policies. However, based on potential

conflicts of interest, the Individual Insureds, in the case of the SEC Investigation, have or may be

represented by separate counsel in addition to or instead of Willkie Farr, and in the case of those

Individual Insureds who are defendants in the Securities Class Action, should retain separate

counsel and incur expenses to mount their own individual defenses to the claims asserted in the

Securities Complaint. Pursuant to the terms of the Policies, the Individual Insureds are entitled to

have costs in connection with the SEC Investigation and their defense in the Securities Class

Action costs, as the case may be, satisfied from proceeds of such policies.

       34.     Further, it is worth noting again that no self-insured retention will be required to be

paid by the Debtors in connection with either the SEC Investigation or the Securities Class Action

as a precondition to the Insurance Carriers advancing funds under the Policies with respect to the

Debtors’ fees and expenses and other costs. Accordingly, the Debtors will not have to pay out of

pocket for any of the Debtors’ costs discussed herein.




                                                  16
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 17 of 29




F.       The D&O Insurance Policies20

         35.      The Securities Class Action falls within the scope of coverage of the Primary D&O

Policy (as to the Debtors and Individual Insureds) and the Primary Company Policy (solely as to

the Debtors). On the other hand, the SEC Investigation, as a direct expense of the Debtors, is

covered by all Policies other than the Side A DIC Policies (except with respect to the applicable

Individual Insureds). On information and belief, and based on the confirmation of claim coverage

by the Insurance Carriers, Beneficient believes the Policies provide coverage for the PCA Suit

with respect to Beneficient and the other insureds under the Policies. Thus, as set forth in the

below table, coverage (under the Policies other than the Side A DIC Policies) is available to the

Debtors, Beneficient, and certain non-Debtor parties with respect to all of the Securities Class

Action, the SEC Investigation, and the PCA Suit, as applicable. Additional amounts (under the

Side A DIC Policies) are available exclusively to non-Debtor parties (including with respect to the

Securities Class Action and the SEC Investigation) but would not cover the Debtors’ or

Beneficient’s expenses in connection with either the SEC Investigation or the Securities Class

Action, or Beneficient’s expenses in the case of the PCA Suit. The Debtors anticipate that there

is more than ample coverage available under the Policies to satisfy all defense costs properly

payable thereunder and discussed herein.

               Matter                           Coverage for                               Policies

         SEC Investigation                         Debtors                 All Policies other than Side A DIC
                                                                                         Policies

      Securities Class Action                      Debtors                 All Policies other than Side A DIC
                                                                                         Policies


20
     Any description or summary of the Policies’ provisions set forth herein is subject to the actual language contained
     therein, and capitalized terms utilized in connection with the description of the Policies and not defined herein
     shall have the meanings ascribed to such terms in the Policies. The coverage amounts under the Policies have
     been provided to the Office of the United States Trustee and the Bondholders Committee.


                                                          17
        Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 18 of 29




               Matter                    Coverage for                       Policies

        SEC Investigation             Debtors’ D’s & O’s       Primary D&O Policy and policies
      Securities Class Action                                        that follow form to it

                                                                      Side A DIC Policies

               PCA Suit                   Beneficient          All Policies other than Side A DIC
                                      and other Insureds21                   Policies


               PCA Suit                   Individual            All Policies (solely to the extent
                                          Defendants            they qualify as “Insureds” under
                                                                         such Policies)


                                      V. Applicable Authority

A.       The Insurance Carriers’ Honoring their Payment or Reimbursement Obligations
         under the D&O Policies under Side B or Side C Coverage of the D&O in Favor of the
         Debtors Arguably Would Not Violate the Automatic Stay.

         36.      It is not clear that the automatic stay would be violated by an Insurance Carrier

honoring its payment, advancement, or reimbursement obligations in favor of the Debtors under

Side B or Side C coverage set forth in a D&O Policy. At its most fundamental level, such payment,

advancement, or reimbursement obligation is a payment obligation in favor of the Debtors, and as

such, does not constitute the commencement or continuation of an action against the Debtors

stayed by Section 363(a)(1), the enforcement of a judgment stayed by Section 362(a)(2), the act to

create or enforce a lien against property of the estate stayed by Section 362(a)(4) or Section

362(a)(5), the act to collect or recover a claim against the debtor that arose prior to the

commencement of the case stayed by Section 362(a)(6), the setoff of a debt that arose prior to the

commencement of the case stayed by Section 362(a)(7), or the commencement or continuation of

a proceeding before the United States Tax Court stayed by Section 362(a)(8). At first blush, an




21
     See note 9, supra.


                                                  18
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 19 of 29




Insurance Carrier’s honoring of its payment, advancement, or reimbursement obligation under

Side B or Side C coverage of a D&O Policy at most would implicate Section 362(a)(3)’s stay of

“any act to obtain possession of property of the estate or of property from the estate or to exercise

control over the estate.” However, even Section 362(a)(3) should not be implicated where the

payment is made directly to the Debtors. See, e.g., 11 U.S.C. §542(b) (generally, “an entity that

owes a debt that is property of the estate and that is matured, payable on demand, or payable on

order, shall pay such debt to, or on the order of, the [debtor-in-possession], except to the extent

that such debt may be offset under [11 U.S.C. §553] against a claim against the debtor”).

B.     The Insurance Carriers’ Honoring their Payment Obligations under Side B or Side
       C of the D&O Policies in Favor of Beneficient Should Not Violate the Automatic
       Stay.

       37.     As with those in favor of the Debtors, it is also not clear that Side B or Side C

payments in favor of Beneficient with respect to the Insurance Claims would violate the automatic

stay. As noted, Beneficient is an “Additional Parent Company” under the D&O Policies and is

separately insured thereunder and, as a result, its interest therein arguably never became part of the

Debtors’ estate, and payments under such Policies for claims made against Beneficient accordingly

should not violate the automatic stay.

C.      Proceeds of the Side A Coverage under the D&O Policies are Not Property of the
        Estates.

       38.     The proceeds of the “Side A” coverage under the D&O Policies are not property of

the estates and, therefore, the Insurance Carriers should be permitted to distribute such proceeds

to the Individual Insureds in accordance with the terms of the Policies without the need for stay

relief. Section 541(a)(1) of the Bankruptcy Code provides that property of the estate is comprised

of “all legal or equitable interests of the debtor in property as of the commencement of the case.”

11 U.S.C. § 541(a)(1).



                                                 19
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 20 of 29




       39.     Even where the Debtor has an interest in an insurance policy, courts have found

that while insurance policies are property of the bankruptcy estate, the proceeds of such policies

may not be when coverage is provided only to the debtor’s officers and directors or when the

policy in question contains a priority of payments provision similar to the Policies. See In re

Louisiana World Exposition, Inc., 832 F.2d 1391, 1399 (5th Cir. 1987) (“There are a great many

bankruptcy cases holding that liability insurance policies that provide coverage for the bankrupt’s

liability belong to the bankrupt’s estate . . . . However . . . [t]he question is not who owns the

policies, but who owns the liability proceeds.”) (emphasis in original); Unsecured Creditors

Disbursement Comm. v. Antill Pipeline Constr. Co., Inc. (In re Equinox Oil Co., Inc.), 300 F.3d

614, 618 (5th Cir. 2002) (“An insurance policy owned by the debtor is generally considered

property of the estate. But, whether the proceeds of a particular insurance policy is property of the

estate depends on the nature of the policy.”) (citation omitted); see also In re Adelphia Communs.

Corp., 285 B.R. 580, 591 (Bankr. S.D.N.Y. 2002) (“whether the proceeds of a D&O liability

insurance policy is property of the estate must be analyzed in light of the facts of each case.”)

(internal quotations omitted).

       40.     It is well-established that, when a liability insurance policy only covers non-

debtors, including directors and officers (Side A coverage), the proceeds are not property of the

estate. See Vitek, 51 F.3d at 535 (“[W]hen a debtor corporation owns a liability policy that

exclusively covers its directors and officers . . . the proceeds of that D&O policy are not part of the

debtor’s bankruptcy estate.”) (emphasis in original). Thus, no proceeds of the Side A coverage

under the D&O Policies are property of the Debtors’ estates, and the automatic stay therefore does

not apply to the Insurance Carriers as to such Policies. And this is the case even with respect to

the D&O Policies that also provide Side B and Side C coverage by virtue of the priority of payment




                                                  20
         Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 21 of 29




provision in such policies. See, e.g., In re World Health Alternatives, Inc., 369 B.R. 805, 809

(Bankr. D. Del. 2007) (priority of payment provision in favor of individual non-debtor insureds

fully enforceable in bankruptcy). Accordingly, in the event the Side A coverage under the D&O

Policies is reached (either through exhaustion of underlying policies or a DIC Event 22 as defined

in the Lead Side A Policy, which causes the Side A DIC Policies to “drop down” and provide

immediate coverage), the Side A Insurance Carriers should not be prevented from distributing

proceeds with respect to covered losses of the Individual Insureds with respect to the Securities

Class Action or the SEC Investigation, as the case may be, including incurred or advanced defense

costs.

D.       Cause Exists to Modify the Automatic Stay with Respect to the Proceeds of the
         Policies.

         41.      Even assuming arguendo that the automatic stay does otherwise apply, “cause”

exists under Section 362(d)(1) of the Bankruptcy Code to modify the automatic stay to allow

payment of covered losses of the Debtors and Beneficient (and their respective former or current

officers and directors), including payment, reimbursement and/or advancement of defense costs,

under the Policies. Section 362(d)(1) of the Bankruptcy Code provides, in relevant part, that “on

request of a party in interest and after notice and a hearing, the court shall grant relief from the

stay provided under subsection (a) of this section . . . for cause.” 11 U.S.C. § 362(d)(1).

         42.      The term “cause” is not defined in Section 362(d)(1). Rather, courts determine

whether cause exists on a case-by-case basis. See, e.g., In re Xenon Anesthesia of Tex., PLLC, 510




22
     The Lead Side A Policy provides that the failure of the Debtors “to advance, pay or indemnify Loss . . . of an
     Insured Person by reason of bankruptcy” constitutes a DIC Event. The Lead Side A Policy identifies numerous
     other DIC Events; however, the Debtors are not aware of the occurrence of any such DIC Events with respect to
     Beneficient.


                                                        21
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 22 of 29




B.R. 106, 112 (Bankr. S.D. Tex. 2014). “The Bankruptcy Code gives the court broad discretion

to provide appropriate relief from the automatic stay as may fit the facts of a particular case.” Id.

       43.     Moreover, even putting aside Beneficient’s separate and distinct rights as an

“Additional Parent Company” under the Policies, Beneficient’s use of the D&O Policies to cover

its and the other defendants’ defense costs as to the PCA Suit inure to the Debtors’ benefit because

the Debtors’ passive investment in Beneficient is the Debtors’ most valuable asset. Therefore, the

Debtors’ interests are furthered by the defense of any pending action against Beneficient,

especially where, upon information and belief, Beneficient maintains that such action is meritless,

as the adverse resolution of such action could negatively impact Beneficient’s value.

       44.     The Debtors submit that cause exists to modify the stay to the extent that it

otherwise applies. First, as discussed above, the Debtors’ use of the Policies (other than the Side

A coverage under the D&O Policies) to cover their own defense costs in connection with the SEC

Investigation and Securities Class Action (i) reduces the depletion of limited estate resources that

would otherwise need to go towards payment of postpetition professional fees at no additional

expenses to the Debtors’ estates and (ii) ensures that the Debtors can continue to be competently

represented in connection with the SEC Investigation and, as and when it resumes, the Securities

Class Action, which will strengthen the Debtors’ going-forward prospects.

       45.     Further, the Policies should operate within bankruptcy just as they would outside

the bankruptcy context to allow the non-Debtor insureds access to the policy proceeds to which

they are legally entitled. See Butner v. United States, 440 U.S. 48, 55 (1979) (“Unless some federal

interest requires a different result, there is no reason why [property] interests should be analyzed

differently simply because an interested party is involved in a bankruptcy proceeding.”). The

Debtors’ estates are bound by the terms of the Policies, which expressly recognize Beneficient as




                                                 22
       Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 23 of 29




an Additional Parent Company and as an insured and contemplate the impact of bankruptcy on the

applicability of the Policies. Thus, the estates do not have any greater interest in the policy

proceeds than the Debtors did prior to the Petition Date. Allowing the automatic stay to prevent

the payment, reimbursement, and/or advancement of defense costs of non-Debtor insureds’ would

infringe on such insureds’ interests in the Policies and, in effect, improperly grant the Debtors

greater rights to the proceeds than the Debtors would have otherwise had outside the bankruptcy

context. See In re Downey Fin. Corp., 428 B.R. 595, 608 (Bankr. D. Del. 2010) (“were the Court

to hold that the Policy proceeds are property of the estate and, thus, subject to the automatic stay,

the trustee would have ‘greater rights in the [proceeds] than the debtor had before filing for

bankruptcy.’”) (citation omitted).

        46.     Accordingly, the Debtors submit that cause exists to modify the automatic stay, to

the extent applicable, to allow the Insurance Carriers to make any required payments, including

advances for future defense costs and reimbursement of defense costs that have already been

incurred, with respect to the Insurance Claims, including as to (i) the Debtors in connection with

the SEC Investigation and the Securities Class Action, (ii) Beneficient and, solely to the extent

that they qualify as “Insureds” under the D&O Policies, the other defendants in connection with

the PCA Suit, and (iii) the Individual Insureds in connection with the Securities Class Action, to

the extent covered under the Policies.

E.      Permitting the Payment, Reimbursement, and/or Advancement of Defense Costs Is
        an Appropriate Exercise of the Court’s Powers.

        47.     Finally, Section 105 of the Bankruptcy Code authorizes this Court to “issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

For the reasons stated above, permitting the Insurance Carriers to pay, reimburse, and/or advance




                                                  23
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 24 of 29




defense costs in accordance with and subject to the terms and conditions of the Policies is an

appropriate exercise of the Court’s powers under these factual circumstances.

                                    VI. Reservation of Rights

       48.     Nothing contained herein or any actions taken pursuant to such relief requested is

intended or shall be construed as: (a) an admission as to the amount of, basis for, or validity of any

claim against a Debtor entity under the Bankruptcy Code or other applicable nonbankruptcy law;

(b) a waiver of the Debtors’ right to dispute any claim on any grounds; (c) a promise or requirement

to pay any claim; (d) an implication or admission that any particular claim is of a type specified or

defined in this Motion or any order granting the relief requested by this Motion or any order

granting the relief requested by this Motion or a finding that any particular claim is an

administrative expense claim or other priority claim; (e) an admission as to the validity, priority,

enforceability, or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates; (f) a waiver or limitation of the Debtors’ rights under the Bankruptcy Code

or any other applicable law; or (g) a concession by the Debtors that any liens (contractual, common

law, statutory, or otherwise) that may be satisfied pursuant to the relief requested in this Motion

are valid, and the rights of all parties in interest are expressly reserved to contest the extent,

validity, or perfection or seek avoidance of all such liens. If the Court grants the relief sought

herein, any payment made pursuant to the Court’s order is not intended and should not be construed

as an admission as to the validity of any particular claim or a waiver of the Debtors’ rights to

subsequently dispute such claim.

                                            VII. Notice

       49.     Notice of the hearing on the relief requested in this Motion will be provided by the

Debtors in accordance and compliance with Bankruptcy Rule 4001, as well as the Procedures for

Complex Cases in the Southern District of Texas, the Bankruptcy Local Rules; and/or the Order


                                                 24
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 25 of 29




Granting Debtors’ Emergency Motion for Order Pursuant to Bankruptcy Code Section 105,

Bankruptcy Rules 1015, 2002, 9007, and 9036, Local Bankruptcy Rule 2002-1, and the Complex

Case Procedures Authorizing the Establishment of Certain Notice Procedures [Docket No. 125],

and is sufficient under the circumstances. Without limiting the foregoing, due notice will be

afforded, whether by facsimile, electronic mail, overnight courier or hand delivery, to parties in

interest, including: (a) the U.S. Trustee for the Southern District of Texas; (b) the holders of the

30 largest unsecured claims against the Debtors (on a consolidated basis); (c) the United States

Attorney’s Office for the Southern District of Texas; (d) the Internal Revenue Service; (e) counsel

to the Bondholders Committee; (f) counsel to the Final DIP lender; (g) National Founders, L.P.;

(h) counsel to CLMG Corp. and LNV Corporation; (i) counsel to National Founders LP; (j) counsel

to Bank of Utah, in its capacity as indenture trustee for the Bonds; (k) counsel to the plaintiffs in

the Securities Class Action; (l) counsel to the plaintiffs in the California Collection Suit; (m) the

U.S. Securities and Exchange Commission; (n) the Attorney General of each state in which the

Debtors conduct business; (o) the Insurance Carriers; and (p) any party that has requested notice

pursuant to Bankruptcy Rule 2002. In light of the nature of the relief requested, no other or further

notice need be given.




                                                 25
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 26 of 29




       WHEREFORE, the Debtors respectfully request that the Court enter the Order granting the

relief requested in this Motion and granting such other and further relief as is appropriate under

the circumstances.

Houston, Texas
July 26, 2022

Respectfully Submitted,


/s/ Kristhy M. Peguero
JACKSON WALKER LLP                                   MAYER BROWN LLP

Kristhy M. Peguero (TX Bar No. 24102776)             Charles S. Kelley (TX Bar No. 11199580)
Matthew D. Cavenaugh (TX Bar No. 24062656)           700 Louisiana Street, Suite 3400
1401 McKinney Street, Suite 1900                     Houston, TX 77002-2730
Houston, TX 77010                                    Telephone: (713) 238-3000
Telephone: (713) 752-4200                            Email:        ckelley@mayerbrown.com
Email:       kpeguero@jw.com
             mcavenaugh@jw.com                       -and-

Co-Counsel for the Debtors and Debtors in            Thomas S. Kiriakos (admitted pro hac vice)
Possession                                           Louis S. Chiappetta (admitted pro hac vice)
                                                     71 S. Wacker Drive
                                                     Chicago, IL 60606
                                                     Telephone: (312) 701-0600
                                                     Email:       tkiriakos@mayerbrown.com
                                                                   lchiappetta@mayerbrown.com

                                                     -and-

                                                     Adam C. Paul (admitted pro hac vice)
                                                     Lucy F. Kweskin (admitted pro hac vice)
                                                     1221 Avenue of the Americas
                                                     New York, NY 10020-1001
                                                     Telephone: (212) 506-2500
                                                     Email:      apaul@mayerbrown.com
                                                                 lkweskin@mayerbrown.com

                                                     Counsel for the Debtors and Debtors in
                                                     Possession




                                                26
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 27 of 29




                                     Certificate of Service

        I certify that on July 26, 2022, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                             /s/ Kristhy M. Peguero
                                             Kristhy M. Peguero




                                                27
         Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 28 of 29




                                                    Schedule 1

                                             The Insurance Policies

     Coverage Description              Insurance Carrier              Policy No.                 Original Policy
                                                                                                 Period23
Primary Policies                      Indian Harbor Insurance        ELU16713420               4/26/2020 to
                                      Company                        ELU16713520               4/26/2022
D&O/E&O 1st Layer Extension           ACE American Insurance         G46772040002              4/26/2020 to
(Excess Policy)                       Company                                                  4/26/2022
D&O/E&O 2nd Layer Extension           Berkshire Hathaway             47EPF30764802             4/26/2020 to
(Excess Policy)                       Specialty Ins. Co.                                       4/26/2022
D&O/E&O 3rd Layer Extension           Allied World National          03118353                  4/26/2020 to
(Excess Policy)                       Assurance Company                                        4/26/2022
D&O/E&O 4th Layer Extension           Allianz Global Risks US        USF00296120               4/26/2020 to
(Excess Policy)                       Insurance Co.                                            4/26/2022
D&O/E&O 5th Layer Extension           Berkley Insurance Company      BPRO8050233               4/26/2020 to
(Excess Policy)                                                                                4/26/2022
D&O/E&O 6th Layer Extension           Endurance Risk Solutions  FIX30001065901                 4/26/2020 to
(Excess Policy)                       Assurance Co                                             4/26/2022
D&O/E&O 7th Layer Extension           QBE Insurance Corporation QPL1326899                     4/26/2020 to
(Excess Policy)                                                                                4/26/2022
D&O/E&O 8th Layer Extension           Argonaut Insurance             MLX4248321                4/26/2020 to
(Excess Policy)                       Company                                                  4/26/2022
D&O/E&O 9th Layer Extension           Stratford Insurance            FIP000471                 4/26/2020 to
(Excess Policy)                       Company                                                  4/26/2022
D&O/E&O 10th Layer Extension          RSUI Indemnity Company         NHS686778                 4/26/2020 to
(Excess Policy)                                                                                4/26/2022
D&O/E&O 11th Layer Extension          Crum & Forster Specialty       EPC100596                 4/26/2020 to
(Excess Policy)                       Insurance Co.                                            4/26/2022
D&O/E&O 12th Layer Extension          US Specialty Insurance         14MGU20A49192             4/26/2020 to
(Limited Excess Policy)               Company                                                  4/26/2022
D&O/E&O 13th Layer Extension          Freedom Specialty              XMF2009029                4/26/2020 to
(Limited Excess Policy)               Insurance Company                                        4/26/2022
D&O/E&O 14th Layer Extension          Associated Industries Ins.     ANV131462A                4/26/2020 to
(Limited Excess Policy)               Co., Inc.                                                4/26/2022
D&O/E&O 15th Layer Extension          Ascot Insurance Company        FIXS201000001201          4/26/2020 to
(Limited Excess Policy)                                                                        4/26/2022
D&O/E&O 16th Layer Extension          Twin City Fire Insurance       61DA035074820             4/26/2020 to
(Limited Excess Policy)               Company                                                  4/26/2022
D&O/E&O 17th Layer Extension          Certain Underwriters at        B0507FI2000805            4/26/2020 to
(Excess Policy)                       Lloyds                                                   4/26/2022
D&O/E&O 18th Layer Extension          Atlantic Specialty Insurance   FIN0005390001             4/26/2020 to
(Excess Policy)                       Company                                                  4/26/2022
D&O/E&O 19th Layer Extension          National Union Fire Ins        013096983                 4/26/2020 to
(Lead Side A Policy)                  Pittsburgh, PA                                           4/26/2022
D&O/E&O 20th Layer Extension          Allianz Global Risks US        USF00296320               4/26/2020 to
(Side A DIC Policy)                   Insurance Co.                                            4/26/2022
D&O/E&O 21st Layer Extension          XL Specialty Insurance         ELU16720520               4/26/2020 to
(Side A DIC Policy)                   Company                                                  4/26/2022

23
      Upon information and belief, Beneficient acquired and paid for tail coverage with respect to the Policies,
      providing for coverage of claims first asserted no later than April 14, 2028, but solely with respect to acts or
      omissions occurring prior to April 14, 2022.

                                                           1
      Case 22-90032 Document 639 Filed in TXSB on 07/26/22 Page 29 of 29




 Coverage Description           Insurance Carrier            Policy No.        Original Policy
                                                                               Period23
D&O/E&O 22nd Layer Extension   Berkshire Hathaway           47EPF30764702     4/26/2020 to
(Side A DIC Policy)            Specialty Ins. Co.                             4/26/2022
D&O/E&O 23rd Layer Extension   Endurance American           FIX300001058101   4/26/2020 to
(Side A DIC Policy)            Insurance Co.                                  4/26/2022
D&O/E&O 24th Layer Extension   Continental Casualty         652105526         4/26/2020 to
(Excess Policy)                Company                                        4/26/2022
D&O/E&O 25th Layer Extension   Allied World National        03118354          4/26/2020 to
(Side A DIC Policy)            Assurance Company                              4/26/2022
D&O/E&O 26th Layer Extension   Westchester Fire Insurance   G71519983002      4/26/2020 to
(Side A DIC Policy)            Company                                        4/26/2022
D&O/E&O 27th Layer Extension   Markel American Insurance    MKLM6EL0005435    4/26/2020 to
(Excess Policy)                Company                                        4/26/2022
D&O/E&O 28th Layer Extension   Old Republic Insurance       ORPRO44323        4/26/2020 to
(Side A DIC Policy)            Company                                        4/26/2022




                                                  2
